                       UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UTAH FOAM PRODUCTS, INC., on behalf
Of itself and all others similarly situated,

                     Plaintiff,                            Docket No.    2:18-cv-00858-LPL

       v.

BAYER A.G.; BAYER CORPORATION;
COVESTRO LLC; BASF SE; BASF
CORPORATION; DOW CHEMICAL COMPANY;
HUNTSMAN INTERNATIONAL LLC;
HUNTSMAN CORPORATION; WANHUA
CHEMICAL GROUP CO., LTD.; WANHUA
CHEMICAL AMERICA CO., LTD.; MITSUI
CHEMICALS, INC.; MITSUI CHEMICALS
AMERICA, INC.; MCNS (A.K.A. MITSUI
CHEMICALS & SKC POLYURETHANES, INC.);
MCNS POLYURETHANES USA INC.

                     Defendants.

                            PRAECIPE TO ISSUE SUMMONS


       To:    The Clerk of Court

       Kindly issue the attached Summonses in a Civil Action for each of the Defendants in the

above-captioned matter.


                                                   Respectfully Submitted:

Date: July 6, 2018                                 s/ David B. Spear
                                                   David B. Spear
                                                   PA Id. No. 62133

                                                   Minto Law Group, LLC
                                                   603 Stanwix Street, Suite 2025
                                                   Pittsburgh, PA 15222
